         Case 2:23-bk-53204         Doc 22 Filed 12/05/23 Entered 12/05/23 11:06:33                     Desc
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Form a0nfincs
(Rev. 3/22)

                                   UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

In re:                                                      :
            Ronald M Berry Jr                               :     Case No. 23−53204
                                                            :     Chapter 13
                Debtor.                                     :     Judge Mina Nami Khorrami
                                                            :
SSN:        xxx−xx−4023                                     :


                          NOTICE OF FAILURE TO FILE RULE 1007(b)(7) STATEMENT



    In accordance with Rule 5009(b) of the Federal Rules of Bankruptcy Procedure, the Clerk hereby provides notice
that pursuant to Rule 1007(b)(7) of the Federal Rules of Bankruptcy Procedure, a statement regarding completion of a
course in financial management (Official Form 423) is required before an Order of Discharge can be issued. If a
statement regarding the completion of a course in financial management is not filed within 30 days after the last plan
payment was made or the filing of a motion for a discharge, the above captioned case may be closed without the
issuance of a discharge. If the debtor(s) subsequently files a Motion to Reopen the Case to allow for the filing of the
Official Form 423, the debtor(s) must pay the full reopening fee due for filing the motion.




Dated: December 5, 2023



                                                                     FOR THE COURT:
                                                                     Richard B. Jones
                                                                     Clerk, U.S. Bankruptcy Court
